                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

                                               §
 UNITED STATES OF AMERICA,
                                               §
                                               §
        Plaintiff,
                                               §
                                               § CRIMINAL NO. SA-19-CR-0905-DAE
 v.
                                               §
                                               §
 NANCY ALMAGUER (2),
                                               §
                                               §
        Defendant.
                                               §

                            DECLARATION OF PUBLICATION

       In accordance with Title 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning on December 03, 2021 and

ending on January 01, 2022. (See, Attachment 1).

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

January 25, 2022 at San Antonio, TX.

                                                    Respectfully submitted,

                                                    ASHLEY C. HOFF
                                                    United States Attorney

                                             By:
                                                    ANTONIO FRANCO, JR.
                                                    Assistant United States Attorney
                                                    Asset Forfeiture Section
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                                                    Attorneys for the United States of America
Attachment 1


                       UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF TEXAS, SAN ANTONIO DIVISION
          COURT CASE NUMBER: 5:19-CR-0905-DAE; NOTICE OF FORFEITURE

      Notice is hereby given that on November 02, 2021, in the case of U.S. v. Nancy
Almaguer (2), Court Case Number 5:19-CR-0905-DAE, the United States District Court for
the Western District of Texas entered an Order condemning and forfeiting the following
property to the United States of America:

       $137,792.10, More or Less, in United States Currency in lieu of the Real Property
       located and situated at 3701 Menger, San Antonio, Bexar County, Texas
       (20-FBI-002687)

       The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (December 03, 2021) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 655 East Cesar E. Chavez Blvd. Room G65, San
Antonio, TX 78206, and a copy served upon Assistant United States Attorney Antonio
Franco Jr., 601 NW Loop 410, Suite 600, San Antonio, TX 78216. The ancillary petition
shall be signed by the petitioner under penalty of perjury and shall set forth the nature and
extent of the petitioner's right, title or interest in the forfeited property, the time and
circumstances of the petitioner's acquisition of the right, title and interest in the forfeited
property and any additional facts supporting the petitioner's claim and the relief sought,
pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Antonio Franco Jr., 601 NW Loop 410, Suite 600, San Antonio, TX 78216. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between December 3, 2021 and January 01, 2022. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. Nancy Almaguer (2)

Court Case No:               5:19-CR-0905-DAE
For Asset ID(s):             See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   12/03/2021                      23.9                          Verified
         2                   12/04/2021                      23.8                          Verified
         3                   12/05/2021                      23.9                          Verified
         4                   12/06/2021                      24.0                          Verified
         5                   12/07/2021                      23.9                          Verified
         6                   12/08/2021                      23.9                          Verified
         7                   12/09/2021                      23.9                          Verified
         8                   12/10/2021                      23.9                          Verified
         9                   12/11/2021                      23.9                          Verified
        10                   12/12/2021                      23.8                          Verified
        11                   12/13/2021                      23.9                          Verified
        12                   12/14/2021                      23.9                          Verified
        13                   12/15/2021                      23.9                          Verified
        14                   12/16/2021                      23.9                          Verified
        15                   12/17/2021                      23.9                          Verified
        16                   12/18/2021                      23.9                          Verified
        17                   12/19/2021                      23.9                          Verified
        18                   12/20/2021                      23.9                          Verified
        19                   12/21/2021                      23.8                          Verified
        20                   12/22/2021                      23.9                          Verified
        21                   12/23/2021                      23.9                          Verified
        22                   12/24/2021                      23.9                          Verified
        23                   12/25/2021                      23.9                          Verified
        24                   12/26/2021                      23.9                          Verified
        25                   12/27/2021                      23.9                          Verified
        26                   12/28/2021                      23.9                          Verified
        27                   12/29/2021                      23.9                          Verified
        28                   12/30/2021                      23.9                          Verified
        29                   12/31/2021                      23.9                          Verified
        30                   01/01/2022                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
